 Case 4:21-cv-01236-O Document 274 Filed 04/24/24                    Page 1 of 3 PageID 7995



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
____________________________________
                                       )
NAVY SEALS 1-3, et al.                 )
                                       )
                      Plaintiffs,      )
                                       )
              v.                       )   Civil Action No. 4:21-cv-01236-O
                                       )
LLOYD J. AUSTIN III, in his official   )
capacity as United States              )
Secretary of Defense, et al.,          )
                                       )
                      Defendants.      )
___________________________________ )

                                         JOINT REPORT

       On March 11, 2024, the Court issued an order requiring the parties to submit a joint

mediation report that informs the Court whether this case has been settled by agreement of the

parties. ECF No. 268. The parties attended mediation with Magistrate Judge Cureton on April 3,

2024 and have had additional conversations both with Judge Cureton and amongst themselves

since then. On April 10, 2024, the Court granted a two-week stay to permit the parties to continue

these discussions. ECF No. 273. The case has not yet settled but the parties have made significant

progress over the last two weeks. Thus, the parties respectfully request a one-week stay to facilitate

continuing negotiations.




                                                  1
 Case 4:21-cv-01236-O Document 274 Filed 04/24/24      Page 2 of 3 PageID 7996



Dated: April 24, 2024             Respectfully submitted,

                                  BRIAN M. BOYNTON
                                  Principal Deputy Assistant Attorney General
                                  Civil Division

                                  JOSHUA E. GARDNER
                                  Special Counsel

                                  /s/ Andrew E. Carmichael
                                  ANDREW E. CARMICHAEL
                                  AMY POWELL
                                  Senior Trial Counsel
                                  LIAM C. HOLLAND
                                  Trial Attorney
                                  United States Department of Justice
                                  Civil Division, Federal Programs Branch
                                  1100 L Street, N.W.
                                  Washington, D.C. 20005
                                  Tel: (202) 514-4964
                                  Email: liam.c.holland@usdoj.gov

                                  Counsel for Defendant


 KELLY J. SHACKELFORD             /s/ Heather Gebelin Hacker
   Texas Bar No. 18070950         HEATHER GEBELIN HACKER
 JEFFREY C. MATEER                  Texas Bar No. 24103325
   Texas Bar No. 13185320         ANDREW B. STEPHENS
 HIRAM S. SASSER, III               Texas Bar No. 24079396
   Texas Bar No. 24039157         HACKER STEPHENS LLP
 DAVID J. HACKER                  108 Wild Basin Road South, Suite 250
   Texas Bar No. 24103323         Austin, Texas 78746
 Danielle A. Runyan               Tel.: (512) 399-3022
  Texas Bar No: 24134548          heather@hackerstephens.com
 Holly M. Randall                 andrew@hackerstephens.com
  Texas Bar No. 24128002
 FIRST LIBERTY INSTITUTE          Counsel for Plaintiffs
 2001 W. Plano Pkwy., Ste. 1600
 Plano, Texas 75075
 Tel: (972) 941-4444
 jmateer@firstliberty.org
 hsasser@firstliberty.org
 dhacker@firstliberty.org
 drunyan@firstliberty.org
 hrandall@firstliberty.org

                                     2
 Case 4:21-cv-01236-O Document 274 Filed 04/24/24                Page 3 of 3 PageID 7997



                              CERTIFICATE OF SERVICE

       I certify that on April 24, 2024, this document was served through the Court’s CM/ECF

Document Filing System upon all counsel of record.

                                                     /s/ Heather Gebelin Hacker
                                                     HEATHER GEBELIN HACKER




                                             3
